Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 1 of 11 PageID #:
                                    20333



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
        v.                                     )    Case No. 4:15-CR-00404-HEA-NAB
                                               )
ANTHONY JORDAN,                                )
                                               )
               Defendant.                      )

                               MEMORANDUM AND ORDER

        This matter is before the Court on Defendant Anthony Jordan’s (“Defendant”) Motion for

Discovery of Information Concerning the Confection of the Grand and Petit Jury Venire. [Doc.

2422]. The Government filed a response requesting that this Court grant in part, and deny in part,

Defendant’s Motion. [Doc. 2449]. Defendant filed a reply to the Government’s response in which

Defendant acknowledges the Government’s concession that he is entitled to information regarding

the confection of the grand and petit jury venires; however, Defendant argues the Government’s

position objecting to the production of certain categories of materials is against the express

language of the Jury Selection and Service Act (“JSSA”) and United States Supreme Court

precedent. [Doc. 2478]. Upon review of Defendant’s motion, the Government’s response, and

Defendant’s reply, the Court will GRANT in part and DENY in part Defendant’s motion.

   I.        BACKGROUND

        Defendant’s Motion requests discovery of information regarding the make-up of the grand

and petit jury venire. [Doc. 2422]. Specifically, Defendant requests access to the following

information from the Clerk of Court:
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 2 of 11 PageID #:
                                    20334



       (a) Any amendment to the Jury Plan for the Eastern District of Missouri since its
       promulgation on May 1, 2016, along with any proposed amendment, including
       proposal by email or otherwise.

       (b) An electronic copy of the “voter registration lists” and “records of licensed
       drivers and non-driver identification holders” provided to the Clerk of Court that
       ultimately resulted in the creation of the Master Jury Wheel from which the grand
       jury 1 in this case was drawn and all attendant/attached information, including but
       not limited to racial, ethnic, age, voting status; the date those lists were provided to
       the Clerk of Court; and the agency or person who provided that information.

       (c) An electronic copy of the Master Jury Wheel data including names and
       addresses; racial, ethnic, gender, and age information; and other data in any way
       associated with or recorded with the individuals in/for the jury pool from which the
       grand jury in this case was selected.

       (d) An electronic copy of the Qualified Jury Wheel data, including names and
       addresses; racial, ethnic, gender, and age information; and other data in any way
       associated with or recorded with the individuals in/for the jury pool from which the
       grand jury in this case was selected, as well as information on when the name was
       added to the Qualified Jury Wheel for the pool from which the grand jury from
       which the grand jury in this case was selected.

       (e) All surveys or reports regarding the composition of the Master or Qualified Jury
       Wheel (typically compiled on Forms AO-12 and formerly JS-12) for the preceding
       ten years.

       (f) The dates and names selected randomly from the Master Jury Wheel for the
       venire from which Mr. Jordan was indicted.

       (g) The completed juror qualification forms of all persons qualified for service as
       described on page 4 of the Jury Plan for the selection of grand and petit jurors for
       the pool from which the grand jury in this case was selected.

       (h) The completed jury qualification forms of, or an electronic database detailing,
       all persons disqualified, excused, or exempted, and any other materials or
       information concerning these determinations (including requests for excusal and
       exemption and orders or notations concerning excusals, exemptions, and
       disqualifications) for the last five years.




1
 “Grand jury” refers to the grand jury which issued the Fifth Superseding Indictment in this
case.
                                                  2
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 3 of 11 PageID #:
                                    20335



           (i) The jury qualification forms of, or an electronic database detailing, all persons
           whose form was returned as undeliverable or otherwise not delivered by the United
           States Postal Service for the last five years.

           (j) All documents, materials, and information concerning the delegation of excusal
           responsibilities and/or authority for determining whether persons are qualified,
           exempt, or excused from jury service and standards.

           (k) To the extent the Clerk of the Court employs an electronic data processing
           system, the name of the data processing system, the contract with the provider of
           the processing system, the manual for use of the processing system, and a copy of
           the program code so as to insure the required proportion of names from each county
           are maintained and the random selection of the required number of names from the
           entire source list.

           (l) Any and all periodic reports of statistical sampling complied in the preceding
           ten years.

           (m) The date that the Master Jury Wheel and Qualified Jury Wheel for the grand
           jury in this case was filled, when the Master Jury Wheel and Qualified Jury Wheel
           is scheduled to be emptied and refilled, and information regarding whether the
           master Jury Wheel and Qualified Jury Wheel for the grand jury that issued the
           indictment in this case will be the same wheels used in the petit jury selection
           process.

           In response, the Government requests this Court grant Defendant’s Motion in part and deny

it in part.

    II.       LEGAL STANDARD

           Both the JSSA and the US Supreme Court recognize counsel must have access to certain

jury materials and records in order to effectuate counsel’s responsibility to properly defend their

clients.

           Section 1867(f) of the JSSA, in relevant part, provides:

           The contents of records or papers used by the jury commission or clerk in
           connection with the jury selection process shall not be disclosed, except ... as may
           be necessary in the preparation or presentation of a motion [challenging compliance
           with selection procedures] under ... this section.... The parties in a case shall be
           allowed to inspect, reproduce, and copy such records or papers at all reasonable
           times during the preparation and pendency of such a motion.



                                                    3
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 4 of 11 PageID #:
                                    20336



28 U.S.C. § 1867(f). “The United States Supreme Court has held that § 1867(f) establishes

‘essentially an unqualified right to inspect jury lists.’” United States v. Alden, 776 F.2d 771, 773

(8th Cir. 1985) (quoting Test v. United States, 420 U.S. 28, 30 (1975) (emphasis in original)).

Because “[g]rounds for challenges to the jury selection process may only become apparent after

an examination of the records,” Alden, 776 F.2d at 775, “[e]ven if the defendant’s anticipated

challenges to the jury selection process, as articulated at the time of his motion for inspection, are

without merit, the defendant may still inspect the jury records.” Id.

   III.      ANALYSIS

          The Government concedes Defendant is entitled to some of the information Defendant

requests. The Court will address each request individually.

          a. Any amendment to the Jury Plan for the Eastern District of Missouri since
             its promulgation on May 1, 2016, along with any proposed amendment,
             including proposal by email or otherwise.

          Defendant is entitled to a copy of the Court’s Jury Plan in effect at the time he was indicted,

December 2018, and for the time of his trial. The Court’s Jury Plan is a public document and can

be found on the Court’s website. See United States District Court, Eastern District of Missouri;

Jury Plan, https://www.moed.uscourts.gov/jury-plan (last accessed Sept. 22, 2021). The Jury Plan

was approved on March 9, 2016, with an effective date of May 1, 2016. Id.

          However, Defendant does not request a copy of the Jury Plan; rather he asks for any

amendment to the Jury Plan since its promulgation on May 1, 2016. The Court finds Defendant is

entitled to any amendments made to the Jury Plan since the Plan’s effective date, as he was indicted

after the Jury Plan went into effect and has not yet proceeded to trial. However, as for Defendant’s

request he be provided with any proposed amendment, the Court holds Defendant is not entitled

to that information, if such information even exists, as Defendant has not demonstrated how this



                                                    4
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 5 of 11 PageID #:
                                    20337



material is necessary for the preparation or presentation for a motion challenging JSSA

compliance.    See United States v. Diaz, 236 F.R.D. 470, 482 (N.D. Cal. 2006) (finding

“defendants’ request for writings, reports, or other similar records relating to jury-selection

procedures for past grand juries and past petit juries is not authorized by 28 U.S.C. 1867(f).”); see

also United States v. Davenport, 824 F.2d 1511, 1515 (7th Cir. 1987) (“The Act itself, in section

1867(f), provides that the contents of records or papers used by the clerk shall not be disclosed

unless those records’ contents are shown to be ‘necessary’ for the preparation of a motion to claim,

under section 1867(a), that there has been a ‘substantial failure to comply’ with the Act.”).

       Defendant’s request for any amendment to the Jury Plan for the Eastern District of Missouri

since May 1, 2016 is GRANTED. Defendant’s request for any amendments proposed but not

enacted is DENIED.

       b. An electronic copy of the “voter registration lists” and “records of licensed
          drivers and non-driver identification holders” provided to the Clerk of Court
          that ultimately resulted in the creation of the Master Jury Wheel from which
          the grand jury in this case was drawn and all attendant/attached information,
          including but not limited to racial, ethnic, age, voting status; the date those
          lists were provided to the Clerk of Court; and the agency or person who
          provided that information.

       Defendant requests a copy of the “voter registration lists” and “records of licensed drivers

and non-driver identification holders” which ultimately resulted in the creation of the Master Jury

Wheel from which the grand jury in this case was drawn. The Government argues this information,

called source lists, is not necessary for Defendant to determine whether a fair cross-section of the

population has been included in the Master Jury Wheel, nor is it necessary for him to determine

whether to proceed with any allegation he may have regarding discrimination.

       The Government is correct.        While Defendant has an unqualified right to relevant

demographic information relating to the jury wheel from which his grand jury was drawn, as



                                                 5
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 6 of 11 PageID #:
                                    20338



discussed infra, Defendant will have access to the demographic composition of the grand-jury and

petit-jury pool pursuant to this order. The raw data from the “voter registration lists” and “records

of licensed drivers and non-driver identification holders” is not necessary to Defendant’s possible

challenge. See Diaz, 236 F.R.D. at 483 (denying the defendants’ requests for the original source

list in which their grand jury was drawn and the petit jury will be drawn from because the

demographic information was provided through the JS-12 forms and therefore was “not necessary

to the preparation of defendants’ fair cross-section challenge.”); see also Davenport, 824 F.2d at

1515 (finding the JSSA provides records shall not be disclosed unless the records’ contents are

“necessary” for the preparation of a motion claiming failure to comply with the JSSA).

       Accordingly, Defendant’s request is DENIED.

       c. An electronic copy of the Master Jury Wheel data including names and
          addresses; racial, ethnic, gender, and age information; and other data in any
          way associated with or recorded with the individuals in/for the jury pool from
          which the grand jury in this case was selected.

       The Government does not object to Defendant’s request for such information. To the

extent such information is maintained, Defendant is entitled to a copy of the Master Jury Wheel

data, excluding street addresses, for the Eastern Division of the Court. The city and county are

sufficient for Defendant’s purposes of determining whether a challenge to the Jury Plan is

appropriate. The names of the individuals may not be revealed for any other purpose than as

needed to prepare Defendant’s fair cross-section challenge. See United States v. Betonsports PLC,

No. 4:06CR337CEJ(MLM), 2006 WL 2583285, at *1 (E.D. Mo. Sept. 7, 2006) (ordering redaction

of the names and street addresses, but not city or municipality, of jurors when granting the motion

for production of grand jury materials); see also United States v. Harvey, 756 F.2d 636, 643 (8th

Cir. 1985) (holding district court did not err by allowing access to “data relating to the constituency




                                                  6
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 7 of 11 PageID #:
                                    20339



and method of the grand jury selection,” without the names and addresses of the jurors on the

master list).

        Defendant’s request for disclosure of the Master Jury Wheel data is GRANTED with a

prohibition again the disclosure of the street addresses and other personal information of those

individuals.

        d. An electronic copy of the Qualified Jury Wheel data, including names and
           addresses; racial, ethnic, gender, and age information; and other data in any
           way associated with or recorded with the individuals in/for the jury pool from
           which the grand jury in this case was selected, as well as information on when
           the name was added to the Qualified Jury Wheel for the pool from which the
           grand jury from which the grand jury [sic] in this case was selected.

        The Government does not object to Defendant’s request for such information. To the

extent such information is maintained, Defendant is entitled to a copy of the Qualified Jury Wheel

data, excluding street addresses, for the Eastern Division of the Court. The city and county are

sufficient for Defendant’s purposes of determining whether a challenge to the Jury Plan is

appropriate. Defendant’s request for disclosure of the Qualified Jury Wheel data is GRANTED

with a prohibition again the disclosure of the addresses and other personal information of those

individuals. The names of the individuals may not be revealed for any other purpose than as

needed to prepare Defendant’s fair cross-section challenge. See id.

        e. All surveys or reports regarding the composition of the Master or Qualified
           Jury Wheel (typically compiled on Forms AO-12 and formerly JS-12) for the
           preceding ten years.

        The Government does not object to Defendant’s request for such information as it relates

to the AO-12 forms used to select Defendant’s grand and petit jury. To the extent such information

is maintained, Defendant is entitled to a copy of the Form AO-12 forms for the Master and

Qualified Jury Wheel for the Eastern Division used to select his grand or petit jury. Jordan is not

entitled to information from wheels other than those used to select his juries unless he first presents

                                                  7
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 8 of 11 PageID #:
                                    20340



some evidence tending to show the existence of elements of his challenge. See Diaz, 236 F.R.D.

at 482. (denying the defendant’s request to inspect jury records of past grand and petit juries

because disclosure under the JSSA did not require it); see also United States v. Blair, No. 10-

00093-01-CR-W-GAF, 2011 WL 13364321, at *1 (W.D. Mo. July 7, 2011) (holding “a defendant

may only inspect grand jury materials related to the pool from which the grand jury that indicted

him or her was drawn -- not information related to jury pools in other actions”).

       Defendant’s request for disclosure of surveys or reports regarding the composition of the

Master or Qualified Jury Wheel is GRANTED in part and DENIED in part.

       f. The dates and names selected randomly from the Master Jury Wheel for the
          venire from which Mr. Jordan was indicted.

       The Government objects to Defendant’s request for both the dates and names selected from

the Master Jury Wheel for the venire from which he was indicted. Jordan is not entitled to this

information. See United States v. Jones, No. 5:05-CR-322 (NAM), 2006 WL 8457523, at *14

(N.D.N.Y. Sept. 26, 2006) (“Numerous courts have held that only the Master List from which the

grand jury was selected need be turned over, not the names of specific jurors selected from the

grand jury pool.”).

       Defendant’s request for disclosure of names selected from the Master Jury Wheel is

DENIED. However, Defendant is entitled to the dates that the names were selected from the

Master Jury Wheel. Therefore, this portion of the request is GRANTED.

       g. The completed juror qualification forms of all persons qualified for service
          as described on page 4 of the Jury Plan for the selection of grand and petit
          jurors for the pool from which the grand jury in this case was selected.

       The Government objects to this information and states “[t]he ‘juror qualification form’ is

in reality a juror questionnaire.” This information is not necessary for Defendant to determine

whether to make a challenge to this district’s jury selection procedures. See Diaz, 236 F.R.D. at

                                                8
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 9 of 11 PageID #:
                                    20341



482-83 (denying the defendants’ requests for juror questionnaires). Accordingly, Defendant’s

request is DENIED.

       h. The completed jury qualification forms of, or an electronic database
          detailing, all persons disqualified, excused, or exempted, and any other
          materials or information concerning these determinations (including
          requests for excusal and exemption and orders or notations concerning
          excusals, exemptions, and disqualifications) for the last five years.

       The Government objects to this information. This information is not necessary for

Defendant to determine whether to make a challenge to this district’s jury selection procedures.

See Diaz, 236 F.R.D. at 482-83 (denying the defendants’ requests for juror questionnaires).

Accordingly, Defendant’s request is DENIED.

       i. The jury qualification forms of, or an electronic database detailing, all persons
          whose form was returned as undeliverable or otherwise not delivered by the United
          States Postal Service for the last five years.

       The Government objects to this information. This information is not necessary for

Defendant to determine whether to make a challenge to this district’s jury selection procedures.

See Diaz, 236 F.R.D. at 482-83 (denying the defendants’ requests for juror questionnaires).

Accordingly, Defendant’s request is DENIED.

       j. All documents, materials, and information concerning the delegation of excusal
          responsibilities and/or authority for determining whether persons are qualified,
          exempt, or excused from jury service and standards.

       As the Government states in their response, the relevant information is encompassed in the

Jury Plan, which provides who may be exempted from jury service pursuant to federal law, and

who may be excused from service consistent with federal law. This information is not necessary

for Defendant to determine whether to make a challenge to this district’s jury selection procedures.

Accordingly, Defendant’s request is DENIED.

       k. To the extent the Clerk of the Court employs an electronic data processing
          system, the name of the data processing system, the contract with the provider

                                                 9
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 10 of 11 PageID #:
                                    20342



            of the processing system, the manual for use of the processing system, and a
            copy of the program code so as to insure the required proportion of names
            from each county are maintained and the random selection of the required
            number of names from the entire source list.

        The Government objects to this information. This information is not necessary for

 Defendant to determine whether to make a challenge to this district’s jury selection procedures.

 See Diaz, 236 F.R.D. at 484 (denying the defendants’ requests for technical documents).

 Accordingly, Defendant’s request is DENIED.

        l. Any and all periodic reports of statistical sampling compiled in the preceding ten
           years.

        Defendant is not entitled to this information absent a showing that such material is “used

 in connection with the jury selection process.” 28 U.S.C. § 1867(f). This information is not

 necessary for Defendant to determine whether to make a challenge to this district’s jury selection

 procedures.   See Diaz, 236 F.R.D. at 482-83 (denying the defendants’ requests for juror

 questionnaires). However, during argument, the United States indicated that it does not object to

 statistical sampling in relation to the Grand Jury that returned the fifth superseding indictment.

 Accordingly, Defendant’s request is GRANTED as to the 2018 Grand Jury.

        m. The date that the Master Jury Wheel and Qualified Jury Wheel for the grand jury in
           this case was filled, when the Master Jury Wheel and Qualified Jury Wheel is
           scheduled to be emptied and refilled, and information regarding whether the master
           Jury Wheel and Qualified Jury Wheel for the grand jury that issued the indictment
           in this case will be the same wheels used in the petit jury selection process.

        The Government does not object to Defendant’s request for such information. To the

 extent such information is maintained, Defendant is entitled the date the Master Jury Wheel and

 Qualified Jury Wheel for the grand jury in this case was filled, when the Master Jury Wheel and

 Qualified Jury Wheel is scheduled to be emptied and refilled, and whether the Master Jury Wheel

 and Qualified Jury Wheel for the grand jury that issued the indictment in this case will be the same



                                                 10
Case: 4:15-cr-00404-HEA-NAB Doc. #: 3478 Filed: 09/23/21 Page: 11 of 11 PageID #:
                                    20343



 wheels used in the petit jury selection process. Defendant’s request for disclosure of dates is

 GRANTED.

    IV.      CONCLUSION

          Accordingly,

          IT IS HEREBY ORDERED that Anthony Jordan’s Motion for Discovery of Information

 Concerning the Confection of the Grand and Petit Jury Venire. [Doc. 2422] is GRANTED in

 part and DENIED in part.




                                                NANNETTE A. BAKER
                                                UNITED STATES MAGISTRATE JUDGE

 Dated this 23rd day of September, 2021.




                                               11
